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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In Re:                                          :   Chapter 11
                                                 :   Case No. 01-1139 (JKF)
                                                 :
 W.R. GRACE & CO., et al.,                       :   (Jointly Administered)
                                                 :
                                                 :   Hearing Date: March 28, 2011 at 9:00 a.m.
                    Debtors.                     :   Objection Deadline.: March 11, 2011 at 4:00 p.m.
                                                 :
                                                     Related Docket Nos. 26154 and 26155

 NOTICE OF MOTION OF BNSF RAILWAY COMPANY FOR RECONSIDERATION
      OF THE MEMORANDUM OPINION REGARDING OBJECTIONS TO
 CONFIRMATION OF FIRST AMENDED JOINT PLAN OF REORGANIZATION AND
 RECOMMENDED SUPPLEMENTAL FINDINGS OF FACT AND CONCLUSIONS OF
   LAW [DOCKET NO. 26154] AND THE RECOMMENDED FINDINGS OF FACT,
  CONCLUSIONS OF LAW AND ORDER REGARDING CONFIRMATION OF FIRST
    AMENDED JOINT PLAN OF REORGANIZATION AS MODIFIED THROUGH
                DECEMBER 23, 2010 [DOCKET NO. 26155]

              PLEASE TAKE NOTICE that on February 10, 2011, BNSF Railway Company
(“BNSF”) filed the Motion Of BNSF Railway Company For Reconsideration Of The
Memorandum Opinion Regarding Objections To Confirmation Of First Amended Joint Plan Of
Reorganization And Recommended Supplemental Findings Of Fact And Conclusions Of Law
[Docket No. 26154] And The Recommended Findings Of Fact, Conclusions Of Law And Order
Regarding Confirmation Of First Amended Joint Plan Of Reorganization As Modified Through
December 23, 2010 [Docket No. 26155] (The “Motion”).

             PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held
on March 28, 2011 at 9:00 a.m. (ET) before the Honorable Judith K. Fitzgerald, United States
Bankruptcy Court for the District of Delaware, 5th Floor, Courtroom No. 6, Wilmington,
Delaware 19801.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must
be made in writing, filed with the Clerk of the United States Bankruptcy Court for the District of
Delaware, 824 Market Street, 6th Floor, Wilmington, Delaware 19801, on or before March 11,
2011 at 4:00 p.m. (ET) and (ii) served so as to be actually received by the undersigned counsel
on or before the Objection Deadline.

           IF YOU FAIL TO RESPOND TO THE MOTION IN ACCORDANCE WITH
THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION
WITHOUT FURTHER NOTICE OR OPPORTUNITY FOR A HEARING.




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Dated: February 10, 2011                         PEPPER HAMILTON LLP
       Wilmington, Delaware
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